                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


RYAN DEKEYSER, THOMAS COOPER,
HARLEY GRANIUS, AND CARLOS LOPEZ,
on behalf of themselves and others
similarly situated,

                        Plaintiffs,

          v.                                                   Case No. 08-C-0488

THYSSENKRUPP WAUPACA, INC.,
d/b/a Waupaca Foundry, Inc.,

                        Defendant.


                                      DECISION AND ORDER


          Ryan DeKeyser, Thomas Cooper, Harley Granius, Carlos Lantz, and other current and

former employees of Thyssenkrupp Waupaca, Inc., an iron casting manufacturer, brought this action

seeking overtime compensation for time they spent showering and changing clothes at Waupaca’s

foundries. They allege that in failing to pay them for these activities performed at the beginning and

end of their shifts, Waupaca violated the Fair Labor Standards Act of 1938 (FLSA), 29 U.S.C. § 201

et seq.

          On July 19, 2012, I granted summary judgment in Waupaca’s favor based on the fact that

the Occupational Safety and Health Administration (OSHA), the administrative agency within the

Department of Labor responsible for promulgating and enforcing occupational safety and health

standards, had declined to mandate that workers in foundries like Waupaca’s shower and change

clothes on-site. In essence, I held that OSHA’s failure to order such precautions, despite its own

history of dealing with the issue, precluded a finding by the Court that the nature of the work



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required it, which would make it compensable under the FLSA.

       The United States Court of Appeals for the Seventh Circuit reversed this court’s decision and

remanded the case for further proceedings. In so ruling, the Seventh Circuit held that I had erred

in drawing a negative inference from the fact that OSHA had not mandated changing clothes and

showering on-site at foundries like Waupaca’s. Given the factual dispute over whether changing

clothes and showering on-site actually reduced the health risks to employees at Waupaca, the Court

concluded that summary judgment should not have been granted. It therefore remanded the case for

further proceedings. On remand, the parties have asked that I clarify the legal standard that is to

apply to determine whether donning and doffing clothing and showering at the plants involved in this

case are “required by the nature of the work.” Before doing so, and in order to place the issue in

context, I will repeat the brief history of the law governing the issue from my summary judgment

decision.

A. FLSA and the Portal-to-Portal Act

       The FLSA provides that employees receive “[a] fair day’s pay for a fair day’s work.”

Overnight Motor Transp. Co. v. Missel, 316 U.S. 572, 578 (1942); superseded by statute,

Portal-to-Portal Act, 29 U.S.C. § 251. Specifically:

       [N]o employer shall employ any of his employees . . . for a workweek longer than
       forty hours unless such employee receives compensation for his employment in
       excess of the hours above specified at a rate not less than one and one-half times the
       regular rate at which he is employed.

29 U.S.C. § 207(a)(1). This guarantee of compensation at time and one-half for any hours beyond

the forty hour workweek only applies to “work or employment engaged in by employees covered

by the Act.” Tennessee Coal, Iron & R. Co. v. Muscoda Local No. 123, 321 U.S. 590, 602–603



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(1944); superseded by statute, Portal-to-Portal Act, 29 U.S.C. § 251.

       But the FLSA does not define “work” leaving a crucial hole the courts must fill. Early

decisions interpreted the term very broadly to include “physical or mental exertion (whether

burdensome or not) controlled or required by the employer and pursued necessarily and primarily

for the benefit of the employer . . . ” Id. at 598. In 1944, the Supreme Court held that work may

include “non-exertional acts” because an employer “may hire a man to do nothing or to do nothing

but wait for something to happen.” Armour & Co. v. Wantock, 323 U.S. 126, 133 (1944).

       In 1946, the Court held that the FLSA required employers to pay employees for donning and

doffing aprons and overalls, and walking to their work stations, all of which occurred after they

arrived at the front gate and punched in at a time clock. Anderson v. Mount Celmons Pottery Co.,

328 U.S. 680, 691–93 (1946). In 1947, largely in response to claims that the Court’s ruling in

Anderson would result in “wholly unexpected liabilities, immense in amount and retroactive in

operation,” Steiner v. Mitchell, 350 U.S. 250, 253 (1956), Congress enacted the Portal-to-Portal

Act. The Portal-to-Portal Act excludes certain activities from the concept of work under the FLSA,

including:

       (1) walking, riding, or traveling to and from the actual place of performance of the
       principal activity or activities which such employee is employed to perform, and
       (2) activities which are preliminary to or postliminary to said principal activity or
       activities, which occur either prior to the time on any particular workday at which
       such employee commences, or subsequent to the time on any particular workday at
       which he ceases, such principal activity or activities.


29 U.S.C. § 254(a). The phrase “preliminary to or postliminary to said principal activity or

activities” is not contained in the FLSA’s statutory definitions, 29 U.S.C. § 203, or the definitions

set forth in the Portal-to-Portal Act. See 29 U.S.C. § 262. Nor are any of the words within the


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phrase. Id.

        After the enactment of the Portal-to-Portal Act, the Secretary of Labor promulgated

regulations, which remain largely unchanged to this day. The regulations make clear that as a

general rule, changing clothes and showering are normally considered non-compensable preliminary

and postliminary activities. 29 C.F.R. § 790.7(g). The regulations also make clear, however, that

donning, doffing and showering can under certain circumstances constitute compensable work:

        If an employee in a chemical plant, for example, cannot perform his principal
        activities without putting on certain clothes, changing clothes on the employer’s
        premises … would be an integral part of the employee’s principal activity. On the
        other hand, if changing clothes is merely a convenience to the employee and directly
        related to his principal activities, it would be considered as a “preliminary” or
        “postliminary” activity . . .


29 C.F.R. § 780.8(c). The regulation further explains: “Such a situation may exist where the

changing of clothes on the employer’s premises is required by law, by rules of the employer, or by

the nature of the work.” 29 C.F.R. § 790.8(c), n.65.

        The Supreme Court considered whether donning and doffing clothes were “principal

activities” or merely “preliminary and postliminary activities” within the meaning of the

Portal-to-Portal Act in Steiner v. Mitchell, 350 U.S. 247 (1956). Under the Portal-to-Portal Act,

“changing clothes . . . under normal conditions” was found to be not compensable but “activities

performed either before or after the regular work shift . . . are compensable . . . if those activities are

an integral and indispensable part of the principal activities for which covered workmen are

employed.” Id. at 249, 256. This ruling created, in essence, an exception to the exception. If any

activity is found to be “integral and indispensable” to a worker’s principal activity, it must be paid

for under the FLSA, irrespective of whether or not it is “preliminary or postliminary” under the


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Portal-to-Portal Act. Perez v. Mountaire Farms, Inc., 650 F.3d 350, 363 (4th Cir. 2011). Under

the facts of Steiner, the Supreme Court had “no difficulty” concluding that the employees should be

compensated for donning, doffing, and showering. Steiner, 350 U.S. at 256.

       Since Steiner, different circuits have adopted different approaches to determining whether

the donning and doffing of certain protective gear is “integral and indispensable” to employees’

work. In general, however, it appears that Steiner’s “integral and indispensable” standard is

considered met if, as in the words of DOL’s regulation, the activity at issue is required by law, the

rules of the employer, or by the nature of the work. The most predominant case seems to come out

of the Ninth Circuit. Its formulation of the legal standard is that where:

       the changing of clothes on the employer’s premises is required by law, by rules of the
       employer, or by the nature of the work, the activity may be considered integral and
       indispensable to the principal activities.

Ballaris v. Wacker Siltronic Corp., 370 F.3d 901, 910 (9th Cir. 2004); see also Bamonte v. City of

Mesa, 598 F.3d 1217, 1233 (9th Cir. 2010).

       Plaintiffs in this case are not required by law or by their employer to change clothes and

shower at the plant. It thus follows that doing so is compensable only if it is required by the nature

of the work. It is the meaning of that phrase that the parties have asked me to provide.

B. Sandifer v. United States Steel

       As an initial matter, as was suggested by the court of appeals (see Order Denying Rehearing,

ECF No. 481-3) and urged by Plaintiffs, I have considered the effect of the Supreme Court’s recent

decision in Sandifer v. United States Steel Corp., 134 S. Ct. 870 (2014) on this case. That case dealt

with an exception to the rule that changing clothes and showering at work is compensable if it is

integral and indispensable to a principal activity. The exception applies when the employees are


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members of a union and the issue has been addressed in a collective bargaining process:

       Hours Worked.—In determining for the purposes of [the minimum-wage and
       maximum-hours sections] of this title the hours for which an employee is employed,
       there shall be excluded any time spent in changing clothes or washing at the
       beginning or end of each workday which was excluded from measured working time
       during the week involved by the express terms of or by custom or practice under a
       bona fide collective-bargaining agreement applicable to the particular employee.

29 U.S.C. § 203( o). In Sandifer, the employer was not arguing that changing clothes and washing

were not otherwise compensable activities. Instead, the employer’s argument was that the collective

bargaining exception set forth in 29 U.S.C. § 203(o) applied so that regardless of whether donning

the gear was required by law, the employer or the nature of the work, the plaintiffs were not entitled

to be paid overtime for it. Thus, whether donning or doffing the protective gear would have been

compensable absent 29 U.S.C. § 203(o) was irrelevant. Any suggestion that it would have been was

dicta. Sandifer contains no discussion of the circumstances under which the nature of the work

require changing and showering on site. In fact, there was evidence in that case that applicable

regulations and the employer’s rules required workers to don and doff at work. See Sandifer v.

United States Steel Corp., No. 07-C-443, 2009 WL 3430222, at *2, *12–13 (N.D. Ind. Oct. 15,

2009). I therefore conclude that Sandifer is inapposite to the issue raised here and despite dicta that

the changing in that case would be compensable if not for § 203(o), I find that case provides little

guidance regarding the question here.

C. When Does the Nature of the Work Require Changing Clothes and Showering on the
Employer’s Premises?

       Plaintiffs propose as a standard that the nature of the work requires donning, doffing and

showering when those activities are more than a mere convenience and are undertaken to protect

employees from merely potentially unsafe workplace conditions. Plaintiffs contend that this standard


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is consistent with the regulation from which the tripartite test (required by law, the employer or the

nature of the work) is taken. The regulation explicitly states that “if changing clothes is merely a

convenience to the employee and directly related to his principal activities, it would be considered

as a ‘preliminary’ or ‘postliminary’ activity . . .”, 29 C.F.R. § 780.8(c), and thus not compensable.

But to say that where changing clothes is a mere convenience to the employee it is not compensable

is not the same as saying that any health consideration at all, no matter how slight or unrealistic, is

enough to make changing and showering compensable.

       More importantly, Plaintiffs’ proposed standard ignores the plain language of the test I have

been asked to define. The question is whether changing clothes and showering at the plant “is

required by the nature of the work,” not whether it is encouraged or suggested. Given the fact that

the activity must be required by the nature of the work, Plaintiffs must establish more than that it is

a good idea, like brushing one’s teeth after every meal. They must show that doing so will

significantly reduce the risk to the health of the employee. Were I to adopt Plaintiffs’ standard, I

would greatly expand the exception to the rule that changing clothes and showering after work are

generally not compensable.

       Finally, Plaintiffs’ proposed standard is even stricter than the standard OSHA applies in

setting workplace safety requirements. OSHA requires a showing of at least a significant health risk

in the workplace to justify such a rule. Industrial Union Dept., AFL-CIO, v. Am. Petroleum

Institute, 448 U.S. 607 (1980); see also 29 U.S.C. § 652(8) (“The term ‘occupational safety and

health standard’ means a standard which requires conditions, or the adoption or use of one or more

practices, means, methods, operations, or processes, reasonably necessary or appropriate to provide

safe or healthful employment and places of employment.”). It makes little sense to adopt a stricter


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standard to be applied by courts in determining when changing clothes and showering at work should

be compensated. To do so would render OSHA’s determinations on such issues meaningless.

       Waupaca has asked that I apply the integral and indispensable standard applied in Steiner and

described in more detail in Gorman v. Consolidated Edison Corp., 448 F.3d 586 (2d Cir. 2007).

But as I concluded in my summary judgment decision, showering and changing clothes at work is

considered integral and indispensable if it is required by law, by rules of the employer, or by the

nature of the work. See Ballaris v. Wacker Siltronic Corp., 370 F.3d 901, 910 (9th Cir. 2004);

Bamonte v. City of Mesa, 598 F.3d 1217, 1233 (9th Cir. 2010). In the context of changing clothes

and showering, integral and indispensable is not a more precise standard, but a more general one.

The question is what does it mean to say that the nature of the work requires that employees don and

doff their clothes and shower on site. In answering this question, I adopt the analysis from the

summary judgment decision:

       Absent a law or work rule, of course, employees will always have the option of
       performing these activities at home, even if doing so seriously endangers their health.
       The “nature of the work” can never compel an employee to shower on site in the
       same sense that a law or work rule do. The law and the employer have authority
       over an employee that can be exercised to compel him to perform activities (if he
       wants to retain his employment) that he might not want to do; the nature of the work
       does not. Thus, if the nature of the work can require the employee to do anything,
       it obviously means something different. As Plaintiffs’ argument suggests, it must
       mean that the nature of the work is such that it is reasonably necessary for employees
       to change clothes and shower on site in order to protect their health.

(ECF No. 427 at 12.)

       The fact that Waupaca does not compel its employees to change clothes and shower at the

workplace does not mean that the nature of the work does not require it. Otherwise there would be

no distinction between the employer requiring the activity and the nature of the work requiring it.



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Plaintiffs obviously think that the risk to employee health is significant enough that Waupaca should

require its foundry workers to change and shower at work, instead of just suggesting they do so or

making it convenient for them to do so. Waupaca disagrees and thinks the risk is minuscule or non-

existent so that making the option available is sufficient. That will be the issue for trial. I can refine

it no further at this point. To prevail at trial, Plaintiffs must convince the finder of fact that changing

clothes and showering at work will significantly reduce the risk to the health of the employee.

        The Clerk is directed to set this matter on the court’s calendar for a telephone conference to

discuss further scheduling after the parties have had an opportunity to confer with each other.



        Dated at Green Bay, Wisconsin this 25th day of November, 2014.

                                                 s/ William C. Griesbach
                                                 William C. Griesbach, Chief Judge
                                                 United States District Court




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